Case 2:22-bk-50804            Doc 166     Filed 04/14/22         Entered 04/14/22 11:01:08    Desc Main
                                 UNITED STATES BANKRUPTCY
                                      Document    Page 1 of 2COURT
                                    SOUTHERN DISTRICT OF OHIO


  In re VOLUNTEER ENERGY SERVICES,                 )             Case No. 22-50804
  INC.,                                            )             Chapter 11
                                                   )             Judge C. Kathryn Preston
                     Debtor
                                 MOTION FOR ADMISSION PRO HAC VICE

The undersigned attorney is admitted to the State Bar of Georgia                                           .
 Attorney Name                      Gary W. Marsh
 Name of Law Firm                   Troutman Pepper Hamilton Sanders LLP
 Street Address                     600 Peachtree St. NE, Suite 3000
 City, State, and Zip Code          Atlanta, GA 30308
 Telephone Number                   404-885-3000
 Facsimile Number                  404-885-3900
 Email Address                      gary.marsh@troutman.com
 State Bar Number                   471290 (GA)

 The undersigned seeks to appear for this party:
 Eco-Energy Natural Gas, LLC                                                                           .

 A list of other courts, if any, to which the undersigned has been admitted is attached.

 The undersigned is in good standing to practice before the courts to which the undersigned has been
 admitted.

 Pending disciplinary actions:

          ☐    Yes. If yes, attach details.

          ☒    No.



  Dated:         April 14, 2022                        Signed:   /s/ Gary W. Marsh




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Case 2:22-bk-50804        Doc 166    Filed 04/14/22 Entered 04/14/22 11:01:08            Desc Main
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 In re:

 VOLUNTEER ENERGY SERVICES, INC., Debtor

        Pursuant to Local Bankruptcy Rule 2090-1, Gary W. Marsh moves the Court for the entry
 of an Order admitting Gary W. Marsh, Esq. pro hac vice to appear and participate as counsel for
 Eco-Energy Natural Gas, LLC in this Chapter 11 case.
          I am a member in good standing of the following courts:

 Georgia State Bar No. 471290
  Court                                               Date of Admission
  Eleventh Circuit Court of Appeals                   February 20, 1986
  U.S. District Court, Northern District of GA        January 21, 1986
  U.S. District Court, Middle District of GA          March 20, 1986
  U.S. Bankruptcy Court, Southern District of GA      December 13, 2012
  State and Superior Courts of GA                     November 21, 1985
  GA Court of Appeals                                 February 20, 1986
  GA Supreme Court                                    April 22, 1986

       There are no disciplinary actions pending against me in any jurisdiction. I will familiarize
 myself with the applicable rules of the Court and agree to abide by the ethical standards
 governing the practice of law in this Court.

 My Contact information is as follows:

 Gary W. Marsh
 Attorney for Eco-Energy Natural Gas, LLC
 Troutman Pepper Hamilton Sanders LLP
 600 Peachtree St. NE, Suite 3000
 Atlanta, GA 30308
 Telephone: 404-885-3000
 gary.marsh@troutman.com




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